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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                                                )       Chapter 11
                                                      )
THE KRYSTAL COMPANY, et al., 1                        )       Case No. 20-61065 (PWB)
                                                      )
                                                      )
                Debtors.                              )       (Jointly Administered)
                                                      )

           DEBTORS’ MOTION FOR ENTRY OF AN ORDER DETERMINING
         THAT DEBTORS SATISFY THE FINANCIAL REQUIREMENTS FOR A
         DISTRESS TERMINATION OF PENSION PLAN AND APPROVING THE
                      TERMINATION OF PENSION PLAN

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

hereby submit this Motion for Entry of an Order Determining that Debtors Satisfy the

Financial Requirements for a Distress Termination of Pension Plan and Approving the

Termination of Pension Plan (the “Motion”).           In support of this Motion, the Debtors

respectfully state as follows:

                                 PRELIMINARY STATEMENT

         1.     The Debtors bring this motion for approval of the distress termination of the

Pension Plan (defined below). Absent termination of the Pension Plan, the efforts to restructure

the Debtors into a viable enterprise, save thousands of jobs, and preserve value for employees,

retirees, creditors, investors, and other stakeholders would be in vain.



1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
    tax identification number, include: The Krystal Company (4140); Krystal Holdings, Inc.
    (5381); and K-Square Acquisition Co., LLC (8916). The location of the Debtors’ corporate
    headquarters and service address is: 1455 Lincoln Parkway, Suite 600, Dunwoody, Georgia
    30346.



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       2.      In order to terminate an underfunded defined benefit pension plan, a person must

satisfy one of the “distress” termination tests set forth under ERISA (defined below). Under the

“reorganization in bankruptcy” test – which is the only option available to the Debtors – a debtor

is required to provide an evidentiary showing that, unless its pension plan is terminated, it will be

unable to (i) pay its debts pursuant to a plan of reorganization and (ii) continue in business

outside of the bankruptcy process. As demonstrated below, the Debtors satisfy each of the

requirements for a distress termination under the “reorganization in bankruptcy” test.

       3.      Accordingly, the Debtors respectfully request that this Court enter an order

approving the distress termination of the Pension Plan under 29 U.S.C. § 1341(c)(2)(B) and (b)

and making the findings required thereunder.

                                 JURISDICTION AND VENUE

       4.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. § 1334.

Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue of this

proceeding is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       5.      The statutory predicate for the relief requested herein is section 4041 of the

Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. § 1341 (c)(2)(B)(ii)

(“ERISA”).


                                        BACKGROUND

A.     General Background

       6.      On January 19, 2020 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code with the Court. The Debtors have continued

in possession of their properties and have continued to operate and manage their business as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On


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January 22, 2020, the Court entered an order [Docket No. 33] authorizing the joint

administration and procedural consolidation of the chapter 11 cases pursuant to Rule 1015(b) of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). No request has been

made for the appointment of a trustee or examiner in these cases.

       7.      On February 11, 2020, the United States Trustee for the Northern District of

Georgia (the “U.S. Trustee”) appointed the official committee of unsecured creditors (the

“Committee”). See Appointment and Notice of Appointment of Committee of Creditors Holding

Unsecured Claims [Docket No. 143].

       8.      The factual background relating to the Debtors’ commencement of these cases is

set forth in detail in the Declaration of Jonathan M. Tibus in Support of Chapter 11 Petitions and

First Day Pleadings [Docket No. 17] (the “First Day Declaration”) filed on the Petition Date and

incorporated herein by reference.

B.     The Pension Plan

       9.      The Debtors maintain The Krystal Company Pension Savings Plan, dated as of

January 1, 1960 (as amended and restated on January 1, 2012, the “Pension Plan”). The Pension

Plan is a single-employer defined benefit pension plan providing retirement benefits to

approximately 607 participants (109 active employees, 222 inactive employees with deferred

benefits, and 385 inactive employees).

       10.     Pursuant to both the Internal Revenue Code, as amended, 26 U.S.C. §§ 1 et. seq.

(“IRC”) and ERISA, the sponsor of a pension plan incurs certain minimum funding obligations

on account of such plan. See IRC § 412, 29 U.S.C. § 1082. Accordingly, as the sponsor of the

Pension Plan, the Debtor The Krystal Company is required to (i) pay annual insurance premiums

to the Pension Benefit Guaranty Corporation (the “PBGC”) and (ii) make certain funding



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contributions to the Plan. The Debtors are current on their annual premium payments, but

certain minimum funding contribution amounts remain outstanding.

       11.     The Pension Plan was frozen for participation and benefit accruals effective

October 1, 2003. Generally, until the Pension Plan was frozen, salaried employees were eligible

to participate in the Pension Plan upon meeting the Pension Plan’s age and service requirements.

Participants vested after five years of covered service.

       12.     The Pension Plan’s actuary, Findley, Inc. (“Findley”), has determined that as of

December 31, 2019, the Pension Plan had approximately $25,000,000 in assets. On an ongoing

basis, the Pension Plan has approximately $44,000,000 in liabilities. Accordingly, the Pension

Plan is approximately $16,000,000 underfunded.

       13.     The Pension Plan is covered by the pension plan termination insurance program

established under Title IV of ERISA and administered by the Pension Benefit Guaranty

Corporation (the “PBGC”), a wholly-owned United States government corporation. Under this

insurance program, when an underfunded pension plan properly is terminated, the PBGC

generally becomes trustee of such plan and, subject to certain statutory limitations, defrays the

plan’s unfunded benefits from PBGC’s insurance funds.

       14.     Findley has determined that the monthly amount of pension benefits that

participants are currently receiving will not be affected by termination of the Pension Plan.

       15.     The Company is pursuing a sale of its assets as a going concern pursuant to the

terms and conditions of a bid procedures order entered by the Court. See Order (I) Approving

Bidding Procedures for the Sale of the Debtors’ Assets, (II) Scheduling Hearings and Objection

Deadlines with Respect to the Sale, (III) Scheduling Bid Deadlines and an Auction, (IV)

Approving the Form and Manner of Notice Thereof, (V) Approving Contract Assumption and



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Assignment Procedures, and (VI) Granting Related Relief [Docket No. 227]. Pursuant to that

order, the Company has made available to all interested bidders the opportunity to assume the

Pension Plan. No bidder has expressed any interest in assuming the Pension Plan.

                                      RELIEF REQUESTED

        16.      By this Motion, the Debtors seek entry of an order determining that the financial

requirements for a distress termination are satisfied and approving the termination of the Pension

Plan under 29 U.S.C. § 1341(c)(2)(B).


                                        BASIS FOR RELIEF

A.      Applicable Authority

        17.      The Debtors are permitted to terminate the Plan if the contributing sponsor meets

any of the four statutory distress termination tests set forth in section 4041(c) of ERISA. 2 See 29

U.S.C. § 1341.

        18.      By this Motion, the Debtors seek to satisfy the “reorganization in bankruptcy”

test, which is satisfied if:




2
     The four tests for distress termination are:

     1) Liquidation in Bankruptcy Test – The requirements of this test are satisfied if the person at
     issue liquidates;

     2) Reorganization in Bankruptcy Test – The requirements of this test are set forth herein;

     3) Inability to Continue in Business Test – This test requires a showing, to the satisfaction of
     the PBGC, that unless the pension plan is terminated, the person at issue will be unable to
     pay its debts when due and continue in business; and

     4) Unreasonably Burdensome Pension Costs Test – This test is met if a person demonstrates
     to the PBGC that the costs of providing pension coverage have become unreasonably
     burdensome solely as a result of declining covered employment under all single-employer
     plans for which such person is a contributing sponsor.


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       (a)     An entity has filed, or had filed against it, as of the proposed termination date, a
               petition seeking reorganization in a case under the Bankruptcy Code;

       (b)     Such case has not, as of the proposed termination date, been dismissed;

       (c)     Such entity timely submits a copy of any requests for the approval of the
               bankruptcy court of the plan termination to the PBGC at the time the request is
               made; and

       (d)     The bankruptcy court determines that, unless the plan is terminated, such entity
               will be unable to (i) pay all of its debts pursuant to a plan of reorganization and
               (ii) continue in business outside the chapter 11 reorganization process and
               approves the termination.

See 29 U.S.C. § 1341(c)(2)(B)(ii)(O); ERISA § 4041(c)(2)(b)(ii)(I)

       19.     This Court’s role in a distress termination under the “reorganization in

bankruptcy” provision of ERISA is to determine: (i) whether termination of the pension plan is

necessary for the Debtors to emerge successfully from bankruptcy; and (ii) whether to approve

termination of the pension plan. See, e.g., In re Wire Rope Corp. of America, Inc., 287 B.R. 771,

777-78 (Bankr. W.D. Mo. 2002) (“It is not for this Court to determine whether the Debtor has

satisfied or will satisfy, as of the termination date, the first three criteria of § 1341(c)(2)(B)(ii).

Those are determinations to be made by the PBGC. The only question for this Court is whether

the debtor has satisfied the requirements of § 1341(c)(2)(B)(ii)(IV).”); In re Sewell Mfg. Co., 195

B.R. 180, 185 (Bankr. N.D. Ga. 1996) (“Here, however, the Court does not find itself faced with

the ultimate question of the Debtor’s entitlement to the termination of its pension plan. Instead,

the Court simply must perform one narrow factual determination, the satisfaction of which will

compose a single element in the Debtor’s individual case for reorganizational ‘distress.’”). This

Court’s determinations on those two issues are binding upon the PBGC. See 29 C.F.R. §

4041.41(d).

       20.     In evaluating whether pension plan termination is necessary to a debtor’s

successful reorganization, courts have considered whether the debtor would be able to submit a

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confirmable plan of reorganization in the absence of such termination. For example, the courts

in the Wire Rope and US Airways bankruptcy cases held that if the development of a confirmable

plan of reorganization requires pension plan termination, court approval of distress termination is

warranted. Wire Rope, 287 B.R. at 777-78 (holding that “[i]f the Debtor cannot obtain

confirmation of a plan of reorganization in the first place, then it clearly cannot pay its debts

under a plan of reorganization, and the Court’s approval of a distress termination of the

Retirement Plans would be warranted”); In re US Airways Group, Inc., 296 B.R. 734, 743-46

(Bankr. E.D. Va. 2003) (holding that distress termination criterion is satisfied where the only

realistic plan of reorganization required termination of pension plan). The debtor need not

already have submitted a plan of reorganization prior to seeking a distress termination finding

under § 1341(c)(2)(B)(ii)(IV). See In re Sewell Mfg., 195 B.R. at 184.

B.     Termination of the Plan is Warranted

       21.     The Debtors satisfy each prong of the “reorganization in bankruptcy” test. The

first two prongs are satisfied because each Debtor currently is (and is expected to be on the

proposed termination date) a debtor under chapter 11 of the Bankruptcy Code. The third prong

is satisfied because the PBGC was timely served with a copy of this Motion.

       22.     The Debtors meet the fourth and final prong of the “reorganization in bankruptcy”

test, which requires a finding that, unless the debtor’s pension plan is terminated, the debtor: (i)

will be unable to pay its debts pursuant to a plan of reorganization; and (ii) will be unable to

continue its business outside of the bankruptcy process.

       23.     Since the Petition Date, the Debtors have considered the underfunding exposure,

the cost of maintaining the Pension Plan, and the projections of their post-emergence operations.




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After carefully considering these matters, the Debtors determined that terminating the Pension

Plan is required to successfully emerge from chapter 11 and to continue operating.

        24.      The Debtors are currently conducting a process for the sale of substantially all of

their assets. The Debtors and their advisors have determined such a sale is necessary to the

Debtors’ successful reorganization. The only parties willing to purchase the Debtors’ assets have

expressly conditioned their willingness to do so on the elimination of the Debtor’s underfunding

obligation to the Pension Plan. Consequently, unless the Debtors are allowed to terminate the

Pension Plan, the Debtors will not be able to emerge from chapter 11 and continue operating and

providing jobs to their employees.

        25.      If the Pension Plan is not terminated, the Debtors will be forced to liquidate. In

such event, the Pension Plan will still be terminated, but all of the Debtors’ employees will lose

their jobs in the process and the Debtors’ secured creditors would recover only a portion of their

claims while the Debtors’ unsecured creditors may not recover any portion of their claims at all.

To avoid this result, the Pension Plan must be terminated.

        26.      While the Debtors have no choice but to seek relief under this Motion, they are

fortunate in that the plan participants will not be affected adversely by the termination of the

Pension Plan. Subject to certain conditions and limitations, upon the termination of the Pension

Plan, the PBGC will assume all of the obligations owing thereunder and resume timely payments

to all eligible retirees.


                                             NOTICE

        27.      The Debtors have provided notice of this motion to: (a) the U.S. Trustee; (b)

counsel to the Committee; (c) counsel to the administrative agent for the Debtors’ prepetition

credit facilities; (d) the Internal Revenue Service; (e) the Georgia Department of Revenue; (f) the


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Attorney General for the State of Georgia; (g) the United States Attorney for the Northern

District of Georgia; (h) the state attorneys general for states in which the Debtors conduct

business; (i) the PBGC; (j) all known participants under the Plan; and (ik) any party that has

requested notice pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested,

the Debtors submit that no further notice is necessary.

                                    NO PRIOR REQUEST

       28.     No prior request for the relief sought in the motion has been made to this or any

other court.

                                         CONCLUSION

       WHEREFORE, the Debtors respectfully request that this Court enter an order in the form

attached hereto as Exhibit A granting the relief requested herein and such other and further relief

as may be warranted and just.

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Date: April 25, 2020                          Respectfully submitted,
      Atlanta, GA
                                              KING & SPALDING LLP


                                              /s/ Sarah R. Borders
                                              Sarah R. Borders
                                              Georgia Bar No. 610649
                                              Jeffrey R. Dutson
                                              Georgia Bar No. 637106
                                              Leia Clement Shermohammed
                                              Georgia Bar No. 972711
                                              KING & SPALDING LLP
                                              1180 Peachtree Street NE
                                              Atlanta, Georgia 30309
                                              Telephone: (404) 572-4600
                                              Email: sborders@kslaw.com
                                              Email: jdutson@kslaw.com
                                              Email: lshermohammed@kslaw.com

                                              Counsel for the Debtors in Possession
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                                     EXHIBIT A

                                   Proposed Order
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                                                )      Chapter 11
                                                      )
THE KRYSTAL COMPANY, et al., 3                        )      Case No. 20-61065 (PWB)
                                                      )
                                                      )
                Debtors.                              )      (Jointly Administered)
                                                      )

             ORDER GRANTING DEBTORS’ MOTION FOR ENTRY
           OF AN ORDER DETERMINING THAT DEBTORS SATISFY
     THE FINANCIAL REQUIREMENTS FOR A DISTRESS TERMINATION OF
    PENSION PLAN AND APPROVING THE TERMINATION OF PENSION PLAN

         This matter is before the Court on the Motion for Entry of an Order Determining that

Debtors Satisfy the Financial Requirements for a Distress Termination of Pension Plan and

Approving the Termination of Pension Plan (the “Motion”) [Docket No. __] of the above-




3
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
    tax identification number, include: The Krystal Company (4140); Krystal Holdings, Inc.
    (5381); and K-Square Acquisition Co., LLC (8916). The location of the Debtors’ corporate
    headquarters and service address is: 1455 Lincoln Parkway, Suite 600, Dunwoody, Georgia
    30346.
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captioned debtors and debtors in possession (collectively, the “Debtors”). All capitalized terms

used but not defined herein shall have the meanings ascribed to them in the Motion.

         The Court has considered the Motion and the matters reflected in the record of the

hearing held on the Motion on ________, 2020. It appears that the Court has jurisdiction over

this proceeding; that this is a core proceeding; that proper and adequate notice of the Motion has

been given and that no other or further notice is necessary; that the relief sought in the Motion is

in the best interests of the Debtors, their estates, and their creditors; and that good and sufficient

cause exists for such relief.

         Accordingly, it is hereby ORDERED as follows:

         1.     The Motion is GRANTED as set forth herein.

         2.     The financial requirements set forth in 29 U.S.C. § 1341(c)(2)(B)(ii)(IV) for a

distress termination of the Pension Plan have been met. In particular, unless the Pension Plan is

terminated, the Debtors will be unable to pay all of their debts pursuant to a plan of

reorganization and will be unable to pay their debts and continue in business outside the chapter

11 reorganization process.

         3.     The termination of the Pension Plan is hereby approved.

         4.     The Pension Plan shall be deemed terminated as of May 13, 2020.

         5.     Notwithstanding any provision contained in the Federal Rules of Bankruptcy

Procedure to the contrary, the Debtors are not subject to any stay in the implementation,

enforcement or realization of the relief granted in this Order, and the Debtors may, in their

discretion and without further delay, take any action and perform any act authorized under this

Order.
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       6.      The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

       7.      Counsel for the Debtors is directed to serve a copy of this Order on the parties that

received service of the Motion within three (3) days of the entry of this Order and to file a

certificate of service with the Clerk of Court.

                                      [END OF DOCUMENT]
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Prepared and presented by:

/s/ Sarah R. Borders
Sarah R. Borders
Georgia Bar No. 610649
Jeffrey R. Dutson
Georgia Bar No. 637106
Leia Clement Shermohammed
Georgia Bar No. 972711
KING & SPALDING LLP
1180 Peachtree Street NE
Atlanta, Georgia 30309
Telephone: (404) 572-4600
Email: sborders@kslaw.com
Email: jdutson@kslaw.com
Email: lshermohammed@kslaw.com

Counsel for the Debtors in Possession
